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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Federal Trade Commission, et al.
                                         Plaintiff,
v.                                                         Case No.: 1:23−cv−03053
                                                           Honorable John F. Kness
Amgen Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 21, 2023:


        MINUTE entry before the Honorable John F. Kness: Before the Court is a letter
[112] from Defendant Amgen (on behalf of all parties) dated 7/20/2023. In summary,
Amgen's letter requests "a modest adjustment" to the existing schedule for the upcoming
evidentiary hearing on Plaintiff's motion for a preliminary injunction. Specifically, to
accommodate the participation of Amgen's counsel in ongoing proceedings before the
Fifth Circuit, Amgen requests (and the parties all agree) that the evidentiary hearing
remain scheduled to start on 9/11/2023; adjourn for the full day on 9/12/2023; and resume
on 9/13/2023. For the reasons stated by Amgen, the request is granted, and the schedule is
amended as noted. Separately before the Court is Plaintiff FTC's opposed motion [113] to
strike certain of Defendants' affirmative defenses. The parties have proposed an
acceptable briefing schedule [114]. Briefing on the motion to strike will thus proceed on
the schedule set forth at Docket [114]. Mailed notice (ags)




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